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Exhibit 5
1/2017

Timecard

5/22/2017 - 6/4/2017 (Current Pay Period)

Employee: Santos Carrion, Yinet (83H160029)

Payroll ID: 160029

Timecard Approval: Not Approved

Company Code: 83H

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Case 1:16-cv-06947-PGG-GWG bi

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Supervisor: Atarihuana, Yalila (83H110005}

Printed: Thursday, 6/1/2017 . 0.

 

Week 1 In - Out
Mon 05/22
05/22
Tue 05/23 08:30 AM 12:08 PM

95/23 12:38 PM
Wed 95/24 08:25 AM

05/24 12:28 PM

Thu 05/25 08:28AM
05/25
Fri 95/26 \08:28 AM

95/26 2:42 PM ©

Sat 95/27

05/27

  

05/28

04:58 PM

04:29 PM

1:58 AM

04:29 PM

04:58 PM

12:12 PM

 

 

 

Hours

0.00
0.00

3.63
3.85
3.55
4.02
8.50
0.00
3.73
4.27
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Hours

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5.55
2.40
3.75

3.77
5.58

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Department Job Daily Totals
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000120 | 120011 7.48
000120 120011
000120 ‘20011 : 757
000120 120011
000120 120011 8.50
000120 420011
000120 12001 8.00
000120 120011
000120 120011 0.00
000120 120011
000120 120011 0.00
Week 1 Totals - | 31.55
Department Job Daily Totals
000120 120011
000120 120011 8.00
000120 120011
000120 120011 7.95
000120 120011
000120 120011 7.52
000120 120011
000120 120011 5.58
000120 120011
000120 120011 0.00
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000120 120011 0.00

Regular
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